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         8                            UNITED STATES DISTRICT COURT
         9                           EASTERN DISTRICT OF CALIFORNIA
       10

       11    UNITED STATES OF AMERICA,        )            Case No. 2:11-CR-00490 WBS
                                              )
       12                      Plaintiff,     )
                                              )            RELATED CASE ORDER
       13         v.                          )
                                              )
       14    IRINA MARKEVICH, ALEX MARKEVICH, )
             ANATOLIY MARKEVICH, DANIIL       )
       15    MARKEVICH, SVETLANA MARKEVICH,   )
             NATALYA MARKEVICH, DANIIL        )
       16    PIGLITSIN, SERGEY PUKHKAN, and   )
             MARINA PUKHKAN,                  )
       17                                     )
                               Defendants.    )
       18    UNITED STATES OF AMERICA,        )
                                              )
       19                      Plaintiff,     )
                                              )            Case No. 2:11-CR-00210 JAM
       20         v.                          )
                                              )
       21    VERA KUZMENKO, NADIA KUZMENKO,   )
             aka NADIA REYES, AARON NEW,      )
       22    VENIAMIN MARKEVICH, aka BEN      )
             MARKEVICH, EDWARD SHEVTSOV,      )
       23    PETER KUZMENKO, SERGEY BLIZENKO, )
             VANIK ATOYAN, RACHEL SIDERS,     )
       24    LEAH ISOM,                       )
                                              )
       25                      Defendants.    )
             UNITED STATES OF AMERICA,        )
       26                                     )            Case No. 2:11-CR-00467 JAM
                                Plaintiff,    )
       27                                     )
                  v.                          )
       28                                     )
             ZHORA DARMOYAN, MARAT GALOYAN,   )
                                                      1
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                  Case 2:11-cr-00467-JAM Document 43 Filed 11/23/11 Page 2 of 2


         1   MARTIN ATOYAN, and KRISTINE               )
             ATOYAN,                                   )
         2                                             )
                                   Defendants.         )
         3

         4         Examination of the above-entitled action reveals that these

         5   actions are related within the meaning of Local Rule 123 (E.D. Cal.

         6   2005).    Accordingly, the assignment of the matters to the same

         7   judge is likely to affect a substantial savings of judicial effort

         8   and is also likely to be convenient for the parties.

         9         The parties should be aware that relating the cases under

       10    Local Rule 123 merely has the result that these actions are

       11    assigned to the same judge; no consolidation of the actions is

       12    effected.

       13          IT IS THEREFORE ORDERED that the action denominated 2:11-CR-

       14    00490-WBS be reassigned to Judge John A. Mendez for all further

       15    proceedings, and any dates currently set in this reassigned case

       16    only are hereby VACATED.          Henceforth, the caption on documents

       17    filed in the reassigned cases shall be shown as 2:11-CR-00490 JAM.

       18          IT IS FURTHER ORDERED that the Clerk of the Court make

       19    appropriate adjustment in the assignment of cases to

       20    compensate for this reassignment.

       21          IT IS SO ORDERED.

       22    Dated:    November 22, 2011                   /s/ John A. Mendez__________
                                                           JOHN A. MENDEZ
       23                                                  United States District Judge
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